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UNITED STATES DISTRICT COURT
DISTRICT OF NEW MEXICO

 

ee x
CARL WILSON, an individual, and )
AUDREE WILSON, an individual, )
)
Plaintiffs, )
)
Vv. ) 94 Civ. 892(JC)
)
HARPERCOLLINS PUBLISHERS INC., ) AFFIDAVIT OF
a Delaware corporation, ) MATTHEW_E. MARTIN
)
Defendant. )
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STATE OF MASSACHUSETTS)
COUNTY OF BARNSTABLE —

MATTHEW E. MARTIN, being duly sworn, deposes and
says:

1. I submit this affidavit in support of
defendant HarperCollins Publishers Inc.’s ("HarperCollins")
motion for summary judgment in the above-captioned case. I
have read and am familiar with the allegations set forth in
the First Amended Complaint, and I have personal knowledge
of the facts set forth herein.

2. I am an attorney admitted to the Bar of the
State of New York and an Assistant General Counsel for
HarperCollins, where I have been employed since September,
1989. As Assistant General Counsel, my job responsibilities
include providing general legal advice to several of the

company’s trade publishing divisions and the college

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textbook division; conducting prepublication review of
manuscripts for libel and other legal considerations;
drafting and negotiating a variety of publishing agreements;
investigating and responding to claims of libel, invasion of
privacy, copyright and trademark infringement; and managing
and supporting litigation assigned to outside counsel. I
also provide advice on the development, registration and
protection of trademarks; human resources issues; general
corporate and business matters; and the acquisition and
divestiture of major corporate assets.

3. HarperCollins is a Delaware corporation with
its principal place of business in New York. Substantially
all of HarperCollins’ editorial and prepublication review
activities with respect to Brian Wilson’s autobiography,
WOULDN’T IT BE NICE -- MY OWN STORY, were conducted in New
York.

4. My personal involvement with WOULDN’T IT BE
NICE -- MY OWN STORY began on December 10, 1990. By the
time I became involved, the work was under contract to
HarperCollins and was slated to be published on
HarperCollins’ fall 1991 book list. Thomas Miller, a
HarperCollins Senior Editor, presented the book at the Adult
Trade Division’s pre-sales meeting on December 10, 1991. As

was (and is) our practice, I, as a member of our legal

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department, attended the meeting to identify those books
from the fall list which would require legal readings prior
to publication. Because the book concerned a contemporary
rock-and-roll figure and involved sex, drugs and alcohol, I
immediately identified it as requiring legal review.

5. On May 15, 1991, I received from Mr. Miller a
copy of the final edited manuscript, less the final
chapters, which were subsequently supplied. James Fox, Vice
President and Publishing General Counsel for HarperCollins,
and I decided to have the book read by outside legal
counsel, since our legal department was overextended. Were
our department's circumstances otherwise, the book would
have been reviewed by one of our in-house attorneys.

6. That same afternoon, I sent the manuscript by
hand to Slade Metcalf, a partner at the New York law firm
then known as Squadron, Ellenoff, Plesent & Lehrer (now
Squadron, Ellenoff, Plesent & Sheinfeld). HarperCollins
uses the Squadron, Ellenoff firm on an as-needed basis to
conduct legal reviews of manuscripts. My cover letter
requested that any legal changes be finalized, if possible,
by June 5, 1991, a fairly normal turn-around time for such a
manuscript. Mr. Metcalf called me later that same day to
advise that he had given the manuscript to his partner,

Eugenie Gavenchak, who would be performing the legal review.

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legal review. Ms. Gavenchak had previously performed
similar prepublication legal reviews for HarperCollins. As
revised manuscript pages were provided me by Mr. Miller over
the ensuing nine-day period, I forwarded them on to Ms.
Gavenchak.

7. My original expectation was that we would be
able to meet our September publication target date. As it
turned out, the careful legal review conducted by Ms.
Gavenchak and the additional legal work I personally did on
the book took about six weeks longer than we expected and
the publication date was delayed accordingly. I am familiar
with plaintiffs’ suggestions to the effect that a thorough
legal review may have been sacrificed for the sake of
meeting a pre-determined publication deadline. Our actions
reveal precisely the opposite: a delay of publication to
accommodate the legal review.

8. Although different publishing houses employ
different practices in conducting libel reviews (some
requiring attorneys to prepare written reports for the
authors identifying potential areas of concern),
HarperCollins has dispensed with written reports and instead
encourages more direct communication between the legal
reviewer and the author or authors. In my experience, this

approach is most effective in accomplishing the basic

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objective, which is to insure that the book is as original,
truthful, fair and accurate as is reasonably possible.
Consistent with that practice, Ms. Gavenchak, Mr. Miller and
I determined that the optimal way for Ms. Gavenchak to
proceed in addressing concerns she identified would be to
work directly with Mr. Gold, as he was the person primarily
responsible for eliciting Brian Wilson’s recollections, was
the researcher for the book, and had been the contact person
with the editorial staff during the writing process.

9. Ms. Gavenchak periodically reported to me on
the progress of her legal review. She informed me that Mr.
Gold was revising portions of the manuscript as necessary
and that Mr. Gold was providing corroboration for some of
her initial concerns. Over time, I learned from Ms.
Gavenchak that Mr. Gold had been able to provide
corroboration for virtually all of the passages that had
initially concerned her.

10. On June 14 and June 17, 1991, Ms. Gavenchak
advised me that she and Mr. Gold had concluded that the
references to Audree Wilson being a passive witness to her
husband’s abuse of their children would stay in the book
because Mr. Wilson had represented to Mr. Gold that they
were true and also because Mr. Gold had corroborated Mr.

Wilson’s accounts with other published accounts of his

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childhood. Ms. Gavenchak reported to me that Mr. Gold
believed that Mr. Wilson was telling the truth about his
mother, having observed that Mr. Wilson remembered many
things about his past and that when he did not remember, he
was honest about it. Ms. Gavenchak also reported that she
trusted Mr. Gold’s judgment in this regard and had no reason
to doubt the truthfulness of the passages. I likewise had
no reason to doubt Mr. Wilson’s account and thus believed
(and still believe) that the passages are truthful. Ms.
Gavenchak further informed me that Mr. Gold had attempted to
interview Mr. Wilson’s mother, Audree, and Mr. Wilson’s
brother, Carl, to confirm the accuracy of Mr. Wilson’s
recollections but they had steadfastly refused to be
interviewed. As the only remaining family members are dead,
I felt that Mr. Gold had been diligent in pursuing other
possible corroboration.

11. On June 18, 1991 I submitted to Mr. Miller
Ms. Gavenchak’s copy of the complete manuscript marked with
the legal changes to which she and Mr. Gold had agreed. I
advised Mr. Miller that these changes must be incorporated
into the final work. Later, when the typeset galleys came
back from the compositor, I sent them to Ms. Gavenchak so
that she could verify that each of her legal changes had

been made.

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12. Later that day, June 18th, I called James
Tierney, a lawyer representing Brian Wilson in a lawsuit Mr.
Wilson had filed against Irving Music and A&M Records. The
purpose of my call was to verify that the book’s description
of the allegations made in that lawsuit would constitute a
fair report of those proceedings. Without responding to my
queries, Mr. Tierney told me that he wanted to review the
entire manuscript before HarperCollins published it. Mr.
Tierney then told me in non-specific fashion that he was
concerned that there might be false statements in the book
which could be damaging to Brian Wilson if published. Mr.
Tierney demanded that a copy of the manuscript be sent to
his office immediately.

13. After I hung up with Mr. Tierney, I called
Mr. Gold to find out if Mr. Tierney had a legitimate reason
to demand to see the manuscript. Mr. Gold told me that Mr.
Tierney had already reviewed the manuscript and suggested
certain changes, which Mr. Gold had implemented. Mr. Gold
told me that he believed that Mr. Tierney’s motive in
seeking again to review the book was not to ensure accuracy
but, instead, to avoid the prospect that it would offend the
Beach Boys, whose cooperation he required in the lawsuit Mr.
Tierney was handling for Mr. Wilson. Mr. Gold also told me

that Mr. Wilson had a lot of attorneys and that Mr. Tierney

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had only limited authority over Mr. Wilson’s affairs.
Before hanging up, Mr. Gold reiterated to me that he had
made all of the changes to the manuscript that Mr. Tierney
had previously requested. My notes from this conversation
with Todd Gold are annexed hereto as Exhibit 1.

14. On June 19th, I received a facsimile from Mr.
Wilson attaching a short letter, dated June 18, 1991, from
Mr. Wilson to another Los Angeles attorney named Don Engel.
Mr. Wilson’s letter requested Mr. Engel to oversee "any and
all dealings" concerning the book and also asked Mr. Engel
to "again inform Mr. Tierney not to represent himself as my
lawyer in areas he doesn’t represent me." A copy of Mr.
Wilson’s letter is annexed hereto as Exhibit 2.

15. Sometime between June 20th and June 26th, I
spoke with Mr. Engel by telephone and recounted my
conversation with Mr. Tierney. Mr. Engel told me that Mr.
Tierney was speaking without authority and confirmed that
Mr. Tierney was working for Mr. Wilson only with respect to
one piece of litigation, the Irving Music/A&M Records case.
Mr. Engel told me not to worry about Mr. Tierney’s demand to
see the manuscript, and advised me that he would speak to
Mr. Tierney and instruct him to cooperate with me in

confirming the allegations of the A&M Records case.

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16. On June 24th, Mr. Miller received a letter
from Dr. Garrett O’Connor also requesting a copy of the
manuscript. Dr. O’Connor, I would learn shortly, is a
psychiatrist who had been retained in a conservatorship
proceeding which had been commenced against Mr. Wilson by
his cousin, Stan Love. Dr. O’Connor’s letter was
accompanied by an authorization letter from Mr. Wilson. Mr.
Miller forwarded a copy of the letter to me. Later that
same day, Mr. Gold faxed a note to Mr. Miller requesting
that no copies of the book be sent out to third parties
until he and Mr. Wilson had a chance to review the typeset
galleys. Mr. Miller forwarded a copy of Mr. Gold’s note to
me.

17. On June 26th, I called Mr. Tierney to further
pursue the open issues about the A&M lawsuit. Mr. Tierney
told me that he had expected to receive a copy of the
manuscript and wanted to know why I had not sent it. Mr.
Tierney proceeded to tell me that he was concerned about the
overall focus of the book and that it might "slime[]"
members of the Beach Boys and prompt them to withhold
performance royalties from Brian Wilson. Mr. Tierney told
me that Brian Wilson has a fiduciary duty not to "besmirch
the image" of the Beach Boys and expressed his concern that

the Beach Boys might refuse to cooperate with Mr. Wilson’s

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lawsuit against Irving Music and A&M Records. These
statements confirmed in my mind the validity of Mr. Gold’s
assessment that Mr. Tierney’s motives had little, if
anything, to do with concern over the factual accuracy of
the book.

18. Proceeding with a long litany, Mr. Tierney
suggested that there was a chance that Mr. Wilson would
disown the book. He also stated that the book contained
Material falsehoods, for example, that Mike Love (a member
of the Beach Boys) had nothing to do with the writing of
"California Girls." (As I would later learn, that passage
had already been removed from the book.) Mr. Tierney also
claimed that Mr. Wilson has no recollection of anything that
occurred from 1969-1978; that the book would alienate Mr.
Wilson from his mother and the band; that Mr. Wilson could
be exposed to liability to the Beach Boys; that the
conservatorship proceeding could sever Mr. Wilson’s
relationship with Gene Landy; that Mr. Landy was controlling
the content of the book against Mr. Wilson’s best interests;
and that Mr. Landy was "burning the oil fields" and
"scorching the earth" in his relationship with Mr. Wilson.
Mr. Tierney ended the conversation by telling me that he

intended to write me a letter to put us on formal notice of

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his objections to the book. I never received any such
letter.

19. In light of Mr. Tierney’s and Dr. O’Connor’s
requests to see the manuscript, as well as Mr. Tierney’s
allegations challenging the bona fides of the book, I met
with Mr. Fox, our Publishing General Counsel, on June 26th,
to determine how to proceed. I recounted for Mr. Fox the
particulars of the allegations which had been leveled by Mr.
Tierney. Mr. Fox and I had a long conversation during which
we evaluated the credibility of Mr. Tierney’s assertions in
light of all of the other information we had received as a
result of Ms. Gavenchak’s legal review. We determined that
we had taken account of the issues raised by Mr. Tierney
concerning Mr. Wilson’s competency and credibility and Mr.
Landy’s alleged role in the authorship of the book. Our
continuing investigation and contacts with Mr. Wilson, Mr.
Gold and Mr. Engel in the next several weeks led us to
conclude that Mr. Tierney’s assertions were unfounded.

20. Mr. Fox and I further decided at the June
26th meeting that Mr. Wilson should himself determine who
would be allowed to see the manuscript prior to publication.
The next day, a letter was sent by Mr. Miller to Mr. Wilson
advising him of Harper Collins’ preference that he not share

the manuscript with parties outside of the editorial

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process, but at the same time indicating that he was free to
share the manuscript with whomever he deemed appropriate.

We encouraged him not to circulate the manuscript in such
fashion as would jeopardize its confidentiality and/or our
right of first publication. The advice was consistent with
our normal practice not to circulate drafts of unpublished
materials to third parties not associated with the
publishing process.

21. By late June, it was clear that we would need
extra time to complete the prepublication legal review. On
June 25, 1991, Mr. Miller circulated a memo in-house to
advise that the schedule for the release and publication of
the book had been changed. Originally scheduled fora
September 11, 1991 publication date, the publication date
was moved back some six weeks, to October 23, 1991.

22. Over the ensuing two-week period, I received
a number of reports confirming Mr. Wilson’s commitment to
the project and his determination personally to read the
galleys with care. Mr. Engel, in telephone conversations on
July 3 and July 16, advised me that Mr. Wilson was committed
to seeing the book published and did not want to be
"frightened out of the book" by those with ulterior motives.
Mr. Engel and Mr. Gold both reported that, as of July 15th,

Mr. Wilson was busy reading the galleys. Mr. Gold advised

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me that he planned to meet with Mr. Wilson on July 17th to
review Mr. Wilson’s comments. Mr. Engel advised me on July
16th that Mr. Wilson had asked him not to send copies of the
galleys to either Mr. Tierney or Dr. O’Connor.

23. In my conversations with Mr. Engel in early
to mid-July, Mr. Engel expressed preliminary concerns about
Mr. Landy’s relationship with Mr. Wilson and the possibility
that Mr. Landy may have exerted undue influence over the
manuscript. Mr. Engel, as I discuss below, satisfied those
concerns once he devoted time to reading the manuscript,
discussing it with Mr. Wilson, and becoming acquainted with
Dr. O’Connor’s conclusions about Mr. Wilson’s competency.

24. %In mid-July, Mr. Fox and I concluded that it
would be advisable for me to meet with Mr. Wilson to
eliminate any lingering concerns about Mr. Wilson’s
commitment to the book and his approval of its contents. I
scheduled the meeting around a trip to Los Angeles that I
had previously planned. On July 17, 1991, at approximately
5:00 p.m., I met with Mr. Wilson and Mr. Gold at the offices
of Brains & Genius in West Los Angeles. Kevin Leslie, Mr.
Wilson’s personal assistant, was also present. Mr. Engel
joined the meeting some time after it began. When I
arrived, Messrs. Gold and Wilson told me that they had just

finished going over the typeset galleys. In response to my

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inquiries about how the book had been written, they
explained to me that as Mr. Gold was writing the book
(following many hours of interviews), Mr. Gold would submit
individual chapters to Mr. Wilson, which Mr. Wilson would
quickly review. Mr. Wilson told me that he had previously
read the completed manuscript, although not very thoroughly.
With the galleys, however, Mr. Wilson told me that he had
taken much more time and care in his reading and had spent
nearly four days doing a thorough and complete reading of
the book. To memorialize that he, in fact, had thoroughly
reviewed the manuscript and personally approved of its
contents, Mr. Wilson signed the final page of the galleys
indicating that he approved of the book and wanted it to be
published. My file memorandum summarizing my meeting with
Messrs. Gold and Wilson is annexed hereto as Exhibit 3. Mr.
Wilson’s handwritten acknowledgment is annexed to that
memorandum.

25. On July 19th, I met with Mr. Engel at his
offices in Beverly Hills. Mr. Engel told me that he had
read about 200 pages of the galleys and found nothing that
caused him concern. He expressed the view that Mr. Gold had
done an excellent job and that the book would be a best-
seller. During this same meeting, Mr. Engel told me that

Dr. O’Connor’s report in the conservatorship proceeding --

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which, as I understood it, was to appraise Mr. Wilson's
competence and ability to handle his personal and financial
affairs -- would issue within the next week and that Dr.
O'Connor had concluded that Brian Wilson was competent,
although prone to Mr. Landy’s influence.

26. On July 24th, after returning to my office
following my trip to California, I had another telephone
conversation with Mr. Engel. He told me that he had
finished reading the book and had no real problems with it.
He said that he felt that Mr. Gold had written a "balanced
book," not all that favorable to Mr. Landy. Mr. Engel said
that he was satisfied, after consulting with Mr. Wilson,
that "the book says what Brian Wilson wants it to say." At
one point during this conversation, Mr. Engel remarked that
the people involved in the conservatorship proceeding wanted
to "kill the book," that Mr. Tierney also wanted to "kill
the book," and that Dr. O’Connor was skeptical about the
book because he had not been given the opportunity to read
it. Mr. Engel told me, however, that the conservatorship
parties were confident that Mr. Engél would be able to
resolve the matter through a negotiated separation agreement
with Mr. Landy. Further, Mr. Engel assured me that Brian
Wilson wanted to do the book -- that he "wants to tell the

truth." I told Mr. Engel that HarperCollins was now

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Satisfied that the book was legally sound and that it had
Mr. Wilson’s complete blessing. I told him that
HarperCollins was going to proceed with the publication
scheduled for October 23, 1991. Mr. Engel responded that he
had no problem with our proceeding in this manner.

27. On August 8, 1991, William Shinker, Publisher
of the Adult Trade Division of HarperCollins, and Tom Miller
each received a faxed letter from an attorney named Barry
Langberg, writing on behalf of Carl Wilson, Audree Wilson,
Carnie Wilson and Wendy Wilson, who were reported by Mr.
Langberg to be his clients in the conservatorship
proceeding. Mr. Langberg’s letter stated that, while
neither he nor his clients had seen the manuscript, they
nonetheless were concerned about its potentially defamatory
content. The letter further questioned the validity of our
contract with Mr. Wilson (presumably based upon their view
that Brian Wilson lacked the capacity to have entered into
it). Copies of the letters were forwarded to me and are
annexed hereto as Exhibit 4.

28. After consulting with Ms. Gavenchak, to whom
I provided copies, I concluded that Mr. Langberg’s non-
specific letters did not raise any issues that HarperCollins
had not already addressed in the preceding weeks and months

as part of the prepublication review process. Furthermore,

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we felt that Mr. Langberg’s clients’ motives were suspect.
Mr. Wilson was contesting his family’s efforts to have a
conservator appointed and clearly wanted the book to express
his views on that subject. In the circumstances, we saw no
reason why Mr. Langberg’s letter should cause us not to

publish the book.

29. I responded to Mr. Langberg in a letter dated
August 14, 1991, which is annexed hereto as Exhibit 5. My
letter explained to Mr. Langberg that the book had undergone
an exhaustive legal review, that Harper Collins was
Satisfied that its contract with Mr. Wilson was valid and
that it was confident that Mr. Wilson had the capacity to
write a book about his life. We did not hear from Mr.

Langberg again prior to the book’s publication.

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30. WOULDN'T IT BE NICE -- MY OWN STORY was

published on October 23, 1991.

Subscribed and sworn to
before me this 4 ay of
August, BL

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Matthew E. Martin

 
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JUN-13-'91 WED 14:49 1D: BRAINS AND GENIUS TEL NO:213 447 1414 8708 Pa@2

June 18, 1991

Mr. Donald Engel
ENGEL AND ENGEL

$200 Sunset Boulevard
Suite #505

Los Angeles, California 90069
re: Brian Wilson

Dear Don:

As my lawyer, you and I have talked about my book in the
past. I would like you to oversea an

able with. Also rf hope you will again inform mr. Tierney not to
represent himself as my lawyer in areas he doesn't represent ne.

If you have any questions or comments, please feel free to
call me at anytime.

st regards,

Brian Wilson

cc: Sean Corrigan
Tom Miller
James P. Tierney
Dan Strone
Mathew Martin
Todd Gold
Mark Meador
Michael Rosenfeld

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MEMORANDUM

July 24, 1991

TO: File

Enclosure
ce: Jim Fox
Bill Shinker

FROM: Matthew Martin

RE: Brian Wilson

The following is a summary of my various meetings and
conversations with Brian Wilson and his representatives which

took place while I was in Los Angeles last week on a separate
business matter.

I. Meeting with Brian Wilson - July 17, 1991

I met with Brian on Wednesday afternoon at 5:00 P.M.
at the offices of Brains and Genius on West Pico Boulevard in
West L.A. Todd Gold and Kevin Leslie (Brian’s personal
assistant) were also in attendance. Later, we were joined by
Don Engel, Brian’s personal attorney and the person charged
by Brian to oversee of the legal aspects of Brian’s book.

When I arrived, Todd and Brian had just finished
going over the galleys. Todd and Brian explained to me that
as Todd was writing the book, he would submit individual
chapters to Brian which Brian would review in a cursory
Manner. Brian also read the completed manuscript but not
very thoroughly. With the galleys however, Brian told me
that he took much more time and care in his reading. He
spent nearly 4 days reviewing the galleys; it was his first
thorough and complete reading of the book. He noted certain
changes that he wanted made and discussed them with Todd.
Earlier Todd had received changes from Gene Landy, which
Brian also reviewed with Todd and approved. On the last page
of Brian’s copy of the galleys, he indicated in writing that
the text was "Approved by BW as being an acceptable book for
release. Brian Wilson. 7-17-91." (see enclosure).

HC 00614

 
 

 

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Brian told me that he was satisfied with the book.
He understood and well appreciated that it was a “revealing
book" (a term he repeated throughout our conversation), but
that it was an honest and appropriate account of his life and
career. He said that he wants the book to be published and
the story to be told. He admitted that earlier in the
process he was concerned that maybe the book was too
revealing, but he has since come to terms with the candor of
the book and now wants the story told in this "revealing" and
honest way.

Brian appreciates that the book is at times severe
with his former bandmates. He believes that they are
probably going to be upset with the book, but he is not
overly concerned with their reaction. He no longer sees any
of the Beach Boys on a regular basis.

Brian understands and appreciates that he is expected
to go on tour to promote the book in late September. He is
prepared to do this and is even excited about the opportunity
(this despite, as Todd Gold pointed out, Brian’s historic
aversion to touring for his music). Brian understands that
he is expected to discuss, support, and defend the book while
on tour, and he maintains that he is eager and quite capable
of performing this function.

Brian believes that the book is going to be well
received, and that readers and fans will appreciate the
candor and honesty of the book. At one point, in responding
to my question about the likely public reaction to the book,
Brian illustrated the public response with a loud, boisterous
rebel yell. He then gave a smile and quickly said, "But
seriously, it is a very revealing book . .." and resumed his
discussion of the book.

Brian tends to talk in rather broad, sweeping terms.
He doesn’t address specifics real well. He often struggles
to find words and once asked me to back up and repeat myself
because he had lost the meaning of my question. Though I am
not a psychiatrist, I found Brian to be quite capable and
generally responsive to my concerns that as a publisher,
HarperCollins must be assured that Bridn Wilson understands
and appreciates the content of his book, that he is
comfortable with the way his story has been portrayed and
that the book is something he believes in and feels good
about. He confirmed for me that this is indeed the case, and
that he wants the book to be published.

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Brian invited me into his studio to listen to a cut
from his new albumn. He played for me a song called "Rainbow
Eyes". As the song played, he seemed to lose himself in the
music; almost trance-like, he was studying it with such
intensity. Don Engel arrived a few moments later, and Brian
played the cut of “Rainbow Eyes" again for Don to hear.

Afterwards, I briefed Engel on my earlier
conversation with Brian. Engel said that he was glad that we
had discussed these points and that Brian was able to
reaffirm his support for the book. Engel then reiterated
many of the points that he had been making with Jim Fox and
me over the past week or so. i.e. that Brian was concerned
about the power of the Beach Boys to withhold song and
performance royalties from Brian in retaliation for the book;
the significance of the pending conservatorship proceedings;
HarperCollins’s concern that the book be something that Brian
believes in and can support; Engel’s role as Brian’s
attorney, and the fact that he has yet to receive a copy of
the manuscript or galleys to read; that he does not wish to
vet the book or interfere with its publication: he wants
whatever Brian wants for the book; that he thinks there is
benefit to Dr. O’Connor (Brian’s present psychiatrist)
reading the book, but that if Brian does not want him to
share it with O’Connor, Engel will honor that request.

Engel was given a copy of the galleys accompanied by
a letter from Brian (which he signed in my presence when I
first arrived). Though I did not see the letter, I was led
to believe that it contained instructions to Engel that he
not permit anyone else to read the book, including O’Connor
and Tierney. Engel said that he would certainly comply with
the instructions.

Engel was also provided with a copy of an opinion
letter prepared by John Diamond who was asked by the
authorship team (Wilson, Landy and Gold) to read the
manuscript and offer a legal opinion. The idea was to obtain
an independent, objective review of the book for the author’s
benefit. I did not see Diamond’s report. It appeared to be
no longer than 2 or 3 pages in length. Engel read through it
briefly and remarked that it was a fairly standard opinion
letter commenting only generally about allegations of drug
use, sexual behavior, criminal acts and the like.

Engel had other business to discuss with Brian and
Kevin, so I excused myself. Engel and I agreed to try to get
together at his office for a casual meeting before I left
L.A. My meeting with Brian, Todd and Engel ended at
approximately 6:10 P.M.

HC 00616

 

 
 

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* * * * *

II. Conversation with Mark Meador - July 19, 1991

On Thursday, July 18, upon returning to my hotel room
after a long day of depositions on a separate matter (Cleary
v. HarperCollins) I found a phone message from a Mark Meador,
calling on behalf of Gene Landy. I knew from earlier
conversations with Don Engel that Meador is a former attorney
(no longer practices law; possibly disbarred?) who acts as
Gene Landy’s business manager.

I returned the call to Meador on Friday morning, July
19. Meador introduced himself to me as Gene Landy’s business
manager. He wanted to attend my meeting with Wilson on
Wednesday evening, but was concerned about the risk of
breaching the separation agreement that is in effect for
Wilson and Landy. I told Meador that the meeting was
intended as an informal meeting between an author and a
publisher’s representative; that I just wanted to get a sense
of Brian’s confidence in the book: and that I thought the
meeting went well. I did not go into much detail with Meador
about what was discussed at the meeting.

Meador wanted to set the record straight with me
concerning the allegations made by Engel that Landy had
intercepted Brian’s mail. Meador contends that the secretary
at the B & G office opened the mail and left the manuscript
lying out on a desk. Landy went into the office late at
night, as is his custom, to avoid running into Brian, and
happened to see the finished Manuscript lying on the desk, so
he picked it up and took it with him. According to Meador
there was no intention to keep the ms. from Brian or from
those to whom Brian wished to show it

Meador also wanted to express Landy’s concern with
the manner in which the legal review was carried out without
his consultation. I told Meador that we placed the book with
outside counsel who consulted with Todd Gold extensively in
determining the appropriate legal changes to the ms. our
understanding was that Gold was acting on behalf of the
authorship team, and Landy was certainly welcome to join in
the discussions at any time if he cared to. TI also told
Meador that I felt the legal review was handled very well by
our outside counsel and that both the authors and the
publisher were served well by the process.

HC 00617

 

 
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III. Meeting with Don Engel - July 19, 1991

At Noon on Friday, July 19, I met with Don Engel at
his offices in Beverly Hills. Engel told me that he had read
about 200 pages and found nothing that caused him concern.

He thought that Todd Gold had done an excellent job. He
thinks the book is going to be a best-seller.

Engel told me that Brian may be meeting with his
brother, Carl Wilson, to discuss the pending conservatorship
proceedings.

Landy and Wilson’s separation period ends on Tuesday,
July 23. Engel is at work in negotiating the terms of a more
permanent separation that may or may not permit casual,
social contact, but would definitely prohibit further
business relations, unless Brian was properly represented by
totally independent counsel. The separation would involve a
break-up of jointly controlled assets including the Brains &
Genius corporation, copyright and royalty interests in
Brian’s book, movie rights to Brian’s book, record deals and
song royalties. We will be formally advised of the final

terms of the separation as it affects our payment of proceeds
from the book.

Right now, Brian’s cash flow is very low. They will
be selling some of Brian’s assets to obtain some cash.
Brains & Genitis will be dissolved and the office real estate

sold. Engel is doing all he can to keep Brian’s creditors at
bay.

Dr. O’Connor’s report will issue next week (?).
O’Connor has told Engel that he believes that Brian is
competent, but that he is emotionally and pychologically
frail and therefore prone to Landy’s undue influence.

Engel believes that Brian is scared of Landy, yet
totally in awe of him. Engel recognizes that Landy saved
Brian’s life and was a positive influence at a very
significant time for Brian, but that at some point, the
relationship must subside and Brian must be free to pursue
his life free of Landy’s influence and power.

Engel has written a letter to Brian to tell him what
he thinks of the first 200 pages of the book and recommending
that if Brian remains under the care of Dr. o’Connor, Engel
believes that O’Connor should be provided with a copy of the
book; that it would be a valuable tool to understanding and
treating Brian.

HC 00618

 

 
 

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IV. Conversation with Don Engel - July 24, 1991

I spoke with Don Engel on Wednesday afternoon, July
24. He told me that he had finished reading the book and@ had
no real problems with it. He felt that Todd wrote a
"balanced book". It is not all that favorable to Landy in
Engel’s opinion, nor does it appear to be Landy’s "parting
shot", as he feared it might be. Engel is satisfied, after
consulting with Brian that "the book says what Brian Wilson

wants it to say."

The one passage that gave Engel pause was the part
where Dennis Wilson’s death is indirectly attributed to carl
Wilson’s inaction to seek help for his brother from Dr.
Landy, and that Carl’s refusal to act was motivated solely by
financial considerations. [At Brian and Engel’s request,
this passage has been significantly toned down, and Genie
Gavenchak and I reviewed the revised text of this passage
with Todd Gold yesterday. The change will be among those
changes made by hand to the bound galleys}.

Don repeated his opinion that if Brian remains under
Dr. O’Connor’s care, O’Connor should have a copy of the book,
but he would recommend to Brian to wait until late August or
early September before giving O’Connor the book. Engel
reasons that by then, the book will be printed and on the
verge of distribution, at which point it would be virtually
unstoppable.

Engel raised with me the issue of Brian’s promotion
of the book. I reminded Engel that Brian is specifically
committed by contract to tour for the book and that plans are
under way for his tour. I also noted that in my meeting with
Brian last week, I specifically raised the point about the
tour and that Brian confirmed his commitment and capacity to
promote the book for us. Engel feels that he may need to
assure the conservatorship parties (i.e. Carl Wilson, Mike

Love, Brian’s ex-wife, Marilyn) that Landy will not be

involved with Brian during the tour. I told him that Landy’s
role in the tour was not a concern of ours, but that Brian’s
personal promotion of the book is critical to its success.

Engel told me that the conservatorship proceedings

were formally reactivated on Tuesday of this week, which is
the day that the Landy/Wilson separation agreement expired.

HC 00619

 
 

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Brian met with his brother Carl this past weekend to discuss
how a conservatorship might be averted. The conservatorship
parties have expressed their confidence that Engel will be
able to resolve the matter through negotiating a permanent
separation agreement with Landy, but failing that, they
wanted to be in a position to press forward with their effort
to have a permanent conservator named for Brian to protect
him from Landy’s undue influence.

Engel says that the negotiations with Landy are going
to be tricky. Landy is asking for a lot, for example: a
great deal of money in cash, more than Brian has at the time;
1/2 of Brian’s interest in the book (I believe that would
amount to 1/3 of the whole, with Brian and Todd each getting
1/3). Engel believes that this is too great an interest,
especially with the potential for movie rights. Engel told
me that Landy is now living in a large, opulent house that is
Brian’s property. Landy pays just 1/3 of the mortgage as
rent. Engel wants him out.

At one point in our conversation, Engel said that the
conservatorship people want to kill the book, Jim Tierney
(Brian’s lawyer in the A&M lawsuit) wants to kill the book,
and Dr. O’Connor is skeptical about the book because he
hasn’t been given the opportunity to read it. Nevertheless,
according to Engel, Brian wants to do the book. "He wants to
tell the truth."

Engel thinks he can avert a conservatorship
proceeding. But if there is a conservatorship hearing, Engel
is concerned about the effect it will have on Brian. Engel
feels that Brian is now stronger than ever, but if this gets
out of hand, he may crawl into a shell.

I told Engel that we are now completely satisfied
that the book is legally sound and that it has Brian’s
complete blessings. Therefore, we are going to proceed with
publication, on schedule for our planned pub. date of October
13, 1991. Engel has no problem with our proceeding in this
manner.

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390 / Brian Wilson

It was a beautiful day in Malibu, one created for enjoyment rather
than worry. I breathed the salty air and studied my palette. The blue,
whitecapped water, the sandy beach, the sky dotted with pillowy white
clouds. surfers cutting across the waves, and girls on the beach. Beyond the
breakers, two dolphins poked through the water. A sign of good luck.

Then I went downstairs to my piano. It was time to go to work.

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LAW OFFICES
BARRY B. LANGBERG & ASSOCIATES

A PROFPEREIONaL CORPORATION OF COUNSEL
Jd. WILLIAM NAYES
2049 CENTURY PARK EAST
SUITE SOSO TELgpnon

LOS ANGELES.CALIFORNIA 90067

 

August 8, 1991

Mr. Tom Miller, Editor
HarperCollins Publishers
10 East 53 Street

New York, NY 10022

Dear Mr. Miller:

We represent Carl Wilson, Audree Wilson, Carnie Wilson and
Wendy Wilson (the brother, the mother, and daughters of Brian
Wilson) in the conservatorship proceeding in Los Angeles County
California entitled In The Matter of Petition for the
Conservatorship of Brian Wilson, Los Angeles Superior Court Case
Number SP000008.

It has come to the attention of our clients that you intend
to publish a book that is apparently an autobiography of Brian
Wilson. Although we have not had an opportunity to review a
manuscript of the book, we understand that there are numerous and
substantial references to our clients, some of which may be
defamatory.

Furthermore, allegations in the pending conservatorship
proceeding seriously question the capacity of Brian Wilson to
enter into a valid contract with you granting rights to publish
the book. In addition, it has become apparent during the
progress of the conservatorship proceeding that Brian Wilson may
well be subject to the undue influence of Eugene Landy. We
understand that Landy was instrumental in dealing with your
company and was a principal participant in the writing of the
book. As a result, the validity of both the contents of the book
and the contract between Brian Wilson and your company are in
serious doubt.

Of course, the existence of the conservatorship proceeding
is a matter of public record. So too are the allegations
concerning the undue influence of Mr. Landy on Brian Wilson.
Therefore, you had actual and constructive knowledge of the
issues that I have raised in this letter. Your publication of
the book could result in serious harm and damage to both Brian
and his family. I would suggest that prior to publication you

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LAW OFFICES
BARRY B. LANGBERG & ASSOCIATES

& PROPESBIONAL COBPORATION

Mr. Tom Miller, Editor
August 8, 1991
Page 2

determine the veracity of the statements made in the book and the
validity of the contract giving you the rights to publish the
book.

My clients, the family of Brian Wilson, will be happy to
cooperate with you in any effort to investigate these matters.
The fact is that it is very likely that much of the material in

the book is not statements by Brian Wilson but instead defamatory
accounts of events by Eugene Landy.

Please understand that in the event you recklessly publish
this book we intend to pursue all legal remedies.

Yours very truly,

BARRY GBER a

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> SUG

HarperCollinsPublishers

BY FAX and BY REGULAR FIRST CLASS MAIL

August 14, 1991

Barry B. Langberg, Esq.

Law Offices of Barry B. Langberg & Associates
2049 Century Park East

Suite 3030

Los Angeles, California 90067

RE: Brian Wilson

As Assistant General Counsel for HarperCollins
Publishers, I am writing in response to your identical
letters to William Shinker and Thomas Miller, dated August 8,
1991, which were referred to my attention.

First of all, I wish to confirm that HarperCollins is
publishing a book entitled Wouldn’t It Be Nice by Brian
Wilson with Todd Gold, an autobiography of Mr. Wilson’s life.

The book has been read and thoroughly reviewed by
outside counsel specializing in pre-publication review.
Based on this extensive legal review process, we are
confident that the book has been written in a competent and
responsible manner and that it is free of libelous or other
actionable statements.

Furthermore, we have a valid and enforceable
publishing agreement for the work which was signed by Brian
Wilson. We have never had any reason to believe, nor are we
now impressed, that Mr. Wilson lacks the individual right or
the legal capacity to collaborate in a book about his life
and enter into a valid and binding contract for its
publication.

HC 00345

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i Dear Mr. Langberg:

 

 
 

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Barry B. Langberg, Esq. Page 2
August 14, 1991

I trust that this letter is responsive to the
concerns of your clients.

Sincerely yours,

Matthew E. Martin

Enclosure

cc: Donald S. Engel, Esq.
Mr. Todd Gold
Mr. Thomas Miller
Mr. William Shinker
Mr. Brian Wilson

HC 00346
